                                                                                 DISTRICT OF OREGON
                                                                                      FILED
                                                                                   December 04, 2024
                                                                               Clerk, U.S. Bankruptcy Court



 Below is an order of the court.




                                                           _______________________________________
                                                                      DAVID W. HERCHER
                                                                     U.S. Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF OREGON

In re
 Van's Aircraft, Inc.                            Case No. 23-62260-dwh11
                                                   Amended

Debtor                                           ORDER ON CLAIM OBJECTION

Based on the claim objection (docket #_____),
                                      285     IT IS ORDERED that the claim of
_____________________________________________,
Joe Veile                                           proof of claim no.______,
                                                                      401     be
disallowed or allowed as follows:

   Disallowed in full.

   Disallowed for any distribution.

   Disallowed for future        distribution   greater   than     the   amount      already    paid
   ($____________).

   Allowed as (fill in each blank even if amount is $0)
        a secured claim for $                             ,

        a priority unsecured claim for $                           , and

        a nonpriority unsecured claim for $                                .

   The amount of the arrearage is $                           .

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763.5 (12/1/2022)

                    Case 23-62260-dwh11         Doc 706       Filed 12/04/24
